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AO 91 (Rev. 02/09) Criminal Complaint




              United States District Court
                                                              for the
                                                    Western District of New York

                          United States of America

                                           v.                                         Case No. 21-MJ-566
                                 JAMES A. PANE
                                        Defendant




                                                        CRIMINAL C01\1PLAINT

       I, the complainant in this case, state that the following is true to the best of my knowledge and belief
that on or about and between January 20, 2021 and March 12, 2021, in the County of Monroe, in the
Western District of New York, the defendant, JAMES A. PANE, violated

                Code Section                                                          Offense Description
 Title 18, United States Code, Sections 844(e)                         (threat by mail of attempt to kill, mJure, or
                                                                       intimidate or unlawfully damage or destroy
                                                                       property by means of explosive)

 Title 18, United States Code, Sections 876(c)                         (mailing threatening communications)




       This Criminal Complaint is based on these facts:
See attached affidavit.
         181 Continued on the attached sheet.
                                                                              Complainants signature
                                                                         Stacey Hull, Special Agent
                                                               Bureau of Alcohol, Tobacco, Firearms and Explosives
Affidavit and Criminal Complaint submitted                                  Printed name and title
electronically by email in .pdfformat. Oath
administered, and contents and signature, attested
to me as true and accurate telephonically pursuant to
Fed.R.Crim.P. 4.1 and 4(d) on:
Date: April 8 , 2021
                                                                                Judge's signature
                                                                         MARK W. PEDERSEN
City and State: Rochester, New York                                UNITED STATES MAGISTRATE WDGE
                                                                                  Printed name and title
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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA

-v-                                                                     AFFIDAVIT

                                                                        21-MJ-566
JAMES PANE,

                     Defendant.


State of New York )
County of Monroe ) ss
City of Rochester )



               AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT



       STACEY HULL, being duly sworn, deposes and says:

       I.     I am a Special Agent ("SA") with the United States Department of Justice,

Bureau of Alcohol, Tobacco, Firearms, & Explosives ("ATF"), and I am assigned to the

Rochester, New York Field Office. Accordingly, I am the kind of Special Agent delineated

in Title 18, United States Code, Section 3051.

       2.     I am a graduate of the Criminal Investigator School and the ATF National

Academy, both located at the Federal Law Enforcement Training Center in Glynco, Georgia.

I have been employed as an ATF Special Agent for approximately five years. As part of my

professional experience, I have participated in state and federal investigations involving the

illegal possession of firearms, explosives, and narcotics. Previously, I was employed by the
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                                            STACEY�L �
                                            Special Agent
                                            Bureau of Alcohol, Tobacco, Firearms,
                                            and Explosives

Sworn to and subscribed to before me
this 8th day of APRIL 2021.




Honorable Mark W. Pedersen
United States Magistrate Judge




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